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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


ARBUTUS BIOPHARMA CORPORATION                         :
and GENEVANT SCIENCES GMBH,                           :
                                                      :       CIVIL ACTION
                               Plaintiffs,            :
                                                      :
               v.                                     :
                                                      :       NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                    :


                                              ORDER

       AND NOW, this 2nd day of November, 2022, upon consideration of Defendants’ Motion to

Dismiss (D.I. 16), Plaintiffs’ Response (D.I. 21), and Defendants’ Reply Brief (D.I. 23), it is hereby

ORDERED that the Motion is DENIED. Within fourteen (14) days from the date of this Order,

Defendants shall file an answer to the Complaint.



                                               BY THE COURT:


                                               /s/ Mitchell S. Goldberg
                                               MITCHELL S. GOLDBERG, J.
